                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO

In re:
GREGORY BLEA and
ISABEL BLEA,
       Debtor(s)                                                      No. 19-10520-t7

                         MOTION TO APPROVE TRUSTEE’S SALE OF
                           REAL PROPERTY TO MELISSA JONES

          COMES NOW the Trustee, by and through counsel, Philip J. Montoya, pursuant

to the authority granted to said Trustee, and moves for an Order approving the sale of

property of the estate and further states:

          1.    The Debtors filed their Chapter 7 petition on March 11, 2019.

          2.    The trustee is the duly appointed and acting trustee of the aforementioned

estate.

          3.    At the time the Debtors filed this bankruptcy, they were the owners of land

and improvements located in, Albuquerque, New Mexico and described as:

                Lot numbered Twenty-five (25) of Block numbered One (1), Unit 12,
                Jade Park Mobile Home Subdivision, according to the plat filed
                November 9, 1971, in Plat Book C8, Page 59, in the Office of the
                County Clerk of Bernalillo County, New Mexico, EXCEPTING the
                westerly one (1) foot of the above described lot which was deed to
                the City of Albuquerque, New Mexico.

This property is more commonly known as 7401 Frank Place NE, Albuquerque, New

Mexico 87109 and will be referred to as the subject property.

          4.    No exemption has been claimed in the subject property.

          5.    An offer to purchase the subject property for $98,000.00 cash was made by

Melissa Jones. Trustee accepted that offer and seeks Court approval herein. A copy of



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the executed purchase agreement is attached as Exhibit A (hereinafter referred to as the

purchase agreement).

       6.     The purchase agreement, when entering into, was contingent upon short

sale approval by the first position lender. Nationstar Mortgage LLC approved the short

sale on August 9, 2019.

       7.     The purchase agreement provides that seller is to pay for an owner’s title

policy, survey, certain miscellaneous closing fees, and all taxes, assessments, and other

accrual charges pertaining to the subject property, prorated to date of closing of sale. It

is estimated that these closing costs will be no more than $2,500.00.

       8.     Trustee’s realtor Amy Ackroyd of TAL Realty, Inc., working in conjunction

with trustee’s consultant BK Global, will together be entitled to a realtor’s commission in

the amount of $5,880.00 (6.00% of the sales price), plus applicable gross receipts tax. This

commission may be split with buyer’s realtor, if applicable.

       9.     The subject property is encumbered by a first position mortgage in favor of

Nationstar Mortgage LLC securing a note with a balance due of approximately

$84,000.00. BK Global has negotiated with Nationstar Mortgage LLC for a release of

mortgage for a minimum payoff of no less than $82,079.30.

       10.    The subject property is encumbered by a water lien in favor of the City of

Albuquerque in the amount of $418.07. In the event that this lien is paid prior to closing

by BK Global, it will be entitled to reimbursement.

       11.    Trustee seeks herein approval of the sale of the subject to property to

Melissa Jones for the cash price of $98,000.00.



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       12.    Trustee estimates that the net proceeds from the sale of the real property

will be in the approximate amount of $7,500.00.

       13.    Trustee believes the proposed sale to be reasonable and in the best interests

of the estate and recommends that the sale be approved.

       WHEREFORE, the Trustee requests that the Court enter an Order approving the

aforementioned sale and conditions.

                                                        Respectfully submitted:

                                                        Filed electronically
                                                        Philip J. Montoya
                                                        Counsel for Trustee
                                                        1122 Central Ave. SW, Ste 3
                                                        Albuquerque, NM 87102
                                                        (505) 244-1152 (505) 717-1494 fax
                                                        pmontoya@swcp.com

I hereby certify that on August 22, 2019
I caused the foregoing pleading to be sent
by operation of the Court’s electronic
filing system to all parties indicated on the
electronic filing receipt and to Gregory Blea
and Isabel Blea, by first class mail, to
8214 Krim Drive NE, Albuquerque, NM 87109.

s/Filed electronically
Philip J. Montoya




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                        Exhibit A




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